Case 2:20-cv-02218-CDC Document 21                Filed 10/20/21 Page 1 of 1 PageID #: 691




                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FORT SMITH DIVISION

CURTIS DAN DEARMOND                                                      PLAINTIFF


       v.                           CIVIL NO. 20-2218


KILOLO KIJAKAZI, 1 Acting Commissioner
                     0F




Social Security Administration                                           DEFENDANT


                                      JUDGMENT

       For reasons stated in the memorandum opinion of this date, the Court hereby affirms the

decision of the Commissioner and dismisses Plaintiff's case with prejudice. The parties have

sixty days from entry of the judgment on the docket in which to appeal.

       IT IS SO ORDERED AND ADJUDGED this 20th day of October 2021.

                                            /s/    Christy Comstock
                                            HON. CHRISTY COMSTOCK
                                            UNITED STATES MAGISTRATE JUDGE




1
 Kilolo Kijakazi, has been appointed to serve as Acting Commissioner of Social Security, and is
substituted as Defendant, pursuant to Rule 25(d)(1) of the Federal Rules of Civil Procedure.
